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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN


 JAIME EDMONDSON                          Case No. 1:19-cv-00032
 LONGORIA, LUCY PINDER, and
 RHIAN SUGDEN,                            COMPLAINT FOR:
              Plaintiffs,
       v.                                  (1) Misappropriation of Likeness;
                                           (2) False Endorsement, 15 U.S.C. §
 CDDM CORPORATION d/b/a
 CENTERFOLDS OF LANSING                        1125(a); and
 f/k/a DREAM GIRLS,                        (3) Violations of the Michigan
                                               Consumer Protection Act,
             Defendant.                        M.C.L.A. 445:901, et seq.
                                          Jury Trial Demanded



      Plaintiffs Jaime Edmondson Longoria, Lucy Pinder, and Rhian Sugden

(“Plaintiffs”) set forth and allege as follows:

                                 INTRODUCTION

      1.     This case is about a strip club’s unauthorized use of professional

models and actresses’ likenesses on various social media channels to promote the

strip club’s business interests in violation of the models’ rights under state and

federal law and for which the models are entitled to compensation.




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                                     PARTIES

      A.     Plaintiffs

      2.     Plaintiff Jaime Edmondson Longoria (“Longoria”) is, and at all times

relevant to this action was, a professional model and actress, and a resident of

Arizona.

      3.     Plaintiff Lucy Pinder (“Pinder”) is, and at all times relevant to this

action was, a professional model and actress, and a resident of United Kingdom.

      4.     Plaintiff Rhian Sugden (“Sugden) is, and at all times relevant to this

action was, a professional model and actress, and a resident of United Kingdom.

      B.     Defendant

      5.     Upon information and belief, CDDM Corporation (“Defendant”) is a

domestic profit corporation organized and existing under the laws of the State of

Michigan with a registered office address of 30300 Northwestern Highway, Suite

312, Farmington Hills, Oakland County, Michigan, 48334.

      6.     Defendant’s resident agent for service of process is Mark A.

Goldman, 30300 Northwestern Highway, Suite 312, Farmington Hills, Oakland

County, Michigan, 48334.

      7.     Upon information and belief, Defendant is now, and at all times

mentioned herein was, the operator of Centerfolds of Lansing (“Centerfolds”),

which is a strip club, located at 5910 S. Pennsylvania Ave., Lansing, Ingham

County, Michigan 48911.



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      8.     On information and belief, Defendant is the holder of a Michigan

Liquor Control Commission Class C Liquor License with Permits for Sunday

Sales, Dancing-Entertainment, Topless Act, and Additional bar for 5910 E.

Pennsylvania Ave., Lansing, Ingham County, Michigan, 48911.

      9.     Defendant has filed certificates of assumed name to transact business

under the assumed names Tropical Dreams and Cheetah’s of Lansing.

      10.    On information and belief, Defendant also transacted business under

the assumed names Dream Girls and Centerfolds.

      11.    On information and belief Centerfolds was formerly known as Dream

Girls and Cheetah’s of Lansing.

                         JURISDICTION AND VENUE

      12.    This Court has federal question jurisdiction over this action under 28

U.S.C. § 1331 because Plaintiffs allege violations of 15 U.S.C. §1125, et seq.,

(Lanham Act).

      13.    Venue is proper in this Court under 28 U.S.C. § 1391(b), (c)(2), and

(d) because Defendant resides in and a substantial part of the events or omissions

giving rise to Plaintiffs’ claims occurred in the Western District of Michigan.




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                           FACTUAL ALLEGATIONS

      A.      A Model’s Reputation Impacts the Commercial Value of Their
              Images and Likenesses

      14.     Each Plaintiff is, and at all times mentioned herein was, a professional

model and actress who earns a living by commercializing her identity, image, and

likeness for many business endeavors, including the advertisement and promotion

of products and services through negotiated, arms-length transactions with

reputable commercial brands and companies.

      15.     A model’s reputation directly impacts the commercial value

associated with the use of her image, likeness, or identity to promote a product or

service. As such, she has the right to control the commercial exploitation of her

name, photograph, and likeness.

      16.     Each Plaintiff expended and continues to expend substantial effort,

resources, and time in building her reputation in the modeling and/or acting

industries.

      17.     Each Plaintiff carefully considers the reputation, brand, and type of

good or service advertised by any potential client prior to authorizing the use of her

image or likeness.

      18.     Each Plaintiff’s career in modeling and acting has substantial value

derived from the goodwill and reputation each has built. Each Plaintiff commands

substantial sums of money for the licensed commercial use of her image.




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      B.       Defendant Used Plaintiffs’ Likenesses to Promote Defendant’s
               Business Interests without Plaintiffs’ Authorization or Consent

      19.      Upon information and belief, Defendant owns, operates, and/or

controls various social media accounts, including Facebook accounts

https://www.facebook.com/pg/Centerfolds-279908358837010/ and

https://www.facebook.com/Centerfolds-of-lansing-167812459944322/, as well as

the website centerfoldsoflansing.net through which it promotes, endorses, and

markets Centerfolds, solicits customers for Centerfolds, and advertises events for

Centerfolds.

      20.      Upon information and belief, Defendant has, and at all times

mentioned herein had, control over the contents of its social media accounts.

      21.      Defendant has brazenly and repeatedly, without consent,

misappropriated Plaintiffs’ images and likenesses for use in its advertising

materials produced to market and promote Centerfolds.

      22.      The following are examples of Defendant’s unauthorized uses of

Plaintiffs’ images identified so far on Defendant’s social media accounts including

Facebook accounts https://www.facebook.com/pg/Centerfolds-279908358837010/

and https://www.facebook.com/Centerfolds-of-lansing-167812459944322/:

  Plaintiff       Date                           Image URL
 Longoria      2/2/2016     https://www.facebook.com/279908358837010/photos/a.5
                            02068566620987/537382356422941/?type=3&theater

 Pinder        11/24/18     https://www.facebook.com/279908358837010/photos/a.3
                            08812402613272/1087177808110057/?type=3&theater



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 Sugden      6/19/2016     https://www.facebook.com/279908358837010/photos/a.5
                           02068566620987/595241333970376/?type=3&theater

      23.    Defendant’s use of Plaintiffs’ images and likenesses was for

Defendant’s commercial benefit. Defendant used the images to drive traffic to

Centerfolds and increase revenue.

      24.    Defendant’s use of the Plaintiffs’ images on Defendant’s social media

accounts falsely suggests Plaintiff’s sponsorship of, affiliation with, and

participation in Centerfolds.

      25.    Defendant never sought nor obtained permission to use any of the

Plaintiffs’ images and likenesses.

      26.    Plaintiffs at no time gave Defendant permission to use their images to

promote Defendant’s business, services, and/or company, or for any other purpose.

      27.    Defendant has never compensated any of the Plaintiffs for its

unauthorized use of Plaintiffs’ images or likenesses.

      28.    Defendant’s unauthorized use of Plaintiffs’ images and likenesses is

knowing, willful, and intentional.

      C.     Defendant’s Unauthorized Usages of Plaintiffs’ Images and
             Likenesses Harmed and Damaged Plaintiffs

      29.    As noted above, Plaintiffs Longoria, Pinder, and Sugden are

professional models.




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          30.   In all prior instances of authorized commercial marketing and

promotion of Plaintiffs’ images, likenesses, or identities by third parties, Plaintiffs

negotiated and expressly granted authority for such use pursuant to agreed upon

terms and conditions and for agreed upon compensation.

          31.   Defendant never hired or contracted with any of Plaintiffs to

advertise, promote, market, or endorse Centerfolds.

          32.   In the images used by the Defendant to promote Centerfolds and

advertise upcoming events, Plaintiffs are readily identifiable in that any person

seeing the images with the naked eye can reasonably determine that the persons

depicted are either Plaintiffs Longoria, Pinder, or Sugden.

          33.   Defendant’s appropriation of Plaintiffs’ images was for the purpose of

advertising or soliciting patronage for Centerfolds.

          34.   Defendant has never sought Plaintiffs’ permission, nor did Plaintiffs

give Defendant permission to use any of their images to advertise and promote

Centerfolds.

          35.   Defendant has never compensated Plaintiffs for any use of any of their

images or likenesses.

          36.   Defendant had actual knowledge that it was using Plaintiffs’ images

without compensation or consent. Accordingly, Defendant knowingly

misappropriated Plaintiffs’ images and identities in total disregard of Plaintiffs’

rights.



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      37.      As a direct and proximate result of Defendant’s exploitation of

Plaintiffs’ images and identities, Defendant made profits or gross revenues in an

amount to be established at trial.

      38.      Plaintiffs have further been damaged as a direct and proximate result

of Defendant’s unauthorized use, as they have lost their exclusive right to control

the commercial exploitation of their names, photographs, and likenesses, resulting

in damages, the total amount of which will be established by proof at trial.

                               CLAIMS FOR RELIEF

                                    COUNT I
                            Misappropriation of Likeness

      39.      Plaintiffs re-state and re-allege paragraphs 1 through 38 above and

incorporate the same by reference as though fully set forth herein.

      40.      Each Plaintiff has a pecuniary interest in her identity.

      41.      Plaintiffs have a right to control the commercial use of their names,

images, and likenesses. Under Michigan law, the unauthorized exploitation of a

person’s identity for one’s benefit is an unlawful violation of the person’s rights.

      42.      Defendant’s use of Plaintiffs’ photographs and likenesses did not

occur in connection with the dissemination of news or information and was

without a redeeming public interest or historical value.

      43.      Defendant used Plaintiffs’ images to advertise and promote events at

Centerfolds.




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        44.   Defendant never obtained Plaintiffs’ consent for the use of their

images and likenesses.

        45.   Defendant’s use of each Plaintiff’s image and identity was willful and

deliberate.

        46.   Defendant exploited each Plaintiff’s identity for its own commercial

benefit.

        47.   As a direct and proximate result of Defendant’s scheme to create the

false impression that Plaintiffs were affiliated with and/or performed at

Centerfolds, Defendants enjoyed increased revenues and profits.

        48.   As a further direct and proximate result of Defendant’s deliberate and

willful conduct, Plaintiffs suffered actual damages in an amount to be established

at trial.

                                  COUNT II
                     Unfair Competition / False Endorsement
                        Lanham Act, 15 U.S.C. §1125(a)

        49.   Plaintiffs re-state and re-allege paragraphs 1 through 38 above and

incorporate the same by reference as though fully set forth herein.

        50.   The Lanham Act provides:

              Any person who, on or in connection with any goods or
              services … uses in commerce any word, term, name,
              symbol, or device, or any combination thereof, or any
              false designation of origin, false or misleading
              description of fact, or false or misleading representation
              of fact, which –




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                     (A) is likely to cause confusion, or to cause
                     mistake, or to deceive as to the affiliation,
                     connection, or association of such person with
                     another person, or as to the origin, sponsorship, or
                     approval of his or her goods, services, or
                     commercial activities by another person, or

                     (B) in commercial advertising or promotion,
                     misrepresents the nature, characteristics, qualities,
                     or geographic origin of his or her or another
                     person's goods, services, or commercial activities,

               shall be liable in a civil action by any person who
               believes that he or she is or is likely to be damaged by
               such act.

15 U.S.C. § 1125(a)(1).

         51.   Based on the facts alleged herein, Defendant is liable to Plaintiffs for

violations of the Lanham Act, 15 U.S.C. § 1125(a)(1).

         52.   Plaintiffs, through their careers in modeling, advertising, and acting,

have all attained a degree of fame and celebrity.

         53.   Each Plaintiff enjoys a substantial social media following and has

appeared in numerous publications, television shows, internet productions, and/or

films.

         54.   Each Plaintiff earns her living by commercializing her identity for use

by reputable brands and services through arms-length negotiated transactions.

         55.   Each Plaintiff possesses a valid and protectable mark in the form of

her persona, image, likeness, and identity.




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      56.    Each Plaintiff has, and at all times mentioned herein, possessed,

maintained, and safeguarded her exclusive right to control the use of her persona,

image, likeness, and identity.

      57.    Prior to authorizing the use of her image, likeness, or identity, each

Plaintiff carefully considers the reputation of the potential client and the good or

service being promoted.

      58.    Without consent, Defendant placed Plaintiffs’ images and likenesses

on advertisements promoting Centerfolds.

      59.    In Defendant’s advertisements that contain Plaintiffs’ images and

likenesses, Plaintiffs are clearly depicted and readily identifiable.

      60.    Defendant misappropriated Plaintiffs’ images and likenesses in order

to create the false impression that Plaintiffs are somehow affiliated with, have

endorsed, or otherwise participate in Centerfolds.

      61.    Defendant never sought Plaintiffs’ consent to use their images or

likeness.

      62.    Plaintiffs have never been employed by, danced at, or affiliated

themselves in any way with Centerfolds.

      63.    Plaintiffs would not agree to allow their image or likeness to be used

to promote Centerfolds.




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      64.      Defendant, at all times mentioned herein, knew or should have known

that they had no right to use Plaintiffs’ images or likenesses to promote

Centerfolds.

      65.      Defendant placed the misappropriated images on the very same

marketing channels (including Facebook) used by Plaintiffs to promote

themselves.

      66.      Defendant’s misappropriation of Plaintiffs’ images is likely to cause

confusion as to Plaintiffs’ affiliation with, sponsorship of, and/or participation in

Centerfolds.

      67.      Upon information and belief, Defendant’s misappropriation has

caused actual confusion among consumers as to Plaintiffs’ affiliation with,

endorsement of, and participation in Centerfolds.

      68.      Defendant knew or should have known that obtaining the right to use

Plaintiffs’ images and likenesses would have required consent and substantial

compensation.

      69.      Defendant’s repeated and brazen unauthorized use of Plaintiffs’

images and likenesses, without seeking their consent, constitutes willful and

deliberate conduct.

      70.      As a direct and proximate result of Defendant’s scheme to create the

false impression that Plaintiffs were affiliated with and/or performed at

Centerfolds, Defendants enjoyed increased revenues and profits.



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        71.   As a further direct and proximate result of Defendant’s deliberate and

willful conduct, Plaintiffs suffered actual damages in an amount to be established

at trial.

                                       COUNT III
                  Violations of the Michigan Consumer Protection Act,
                                 M.C.L.A. 445.901, et seq.

        72.   Plaintiffs re-state and re-allege paragraphs 1 through 38 above and

incorporate the same by reference as though fully set forth herein.

        73.   Defendant is a business engaged in trade or commerce as defined by

MCLA §445.902.

        74.   Defendant’s unauthorized use of Plaintiffs’ images and likenesses in

connection with creating the false impression that they were affiliated with and

endorsed Centerfolds violates the Michigan Consumer Protection Act.

        75.   Defendant’s unfair and deceptive conduct in trade or commerce

violates MCLA §445.903 (1) as it:

        (a) Caused and/or will likely cause consumer confusion as to Plaintiffs’
        sponsorship, affiliation and/or participation in Centerfolds;

        (b) Represented that Defendant’s business and services have sponsorship,
        approval and characteristics that they do not in fact have; and

        (c) Advertised and represented services with the intent not to provide those
        services.




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        76.      As a direct and proximate result of Defendant’s scheme to create the

false impression that Plaintiffs were affiliated with and/or performed at

Centerfolds, Defendant enjoyed increased revenues and profits.

        77.      As a further direct and proximate result of Defendant’s wrongful,

intentional, and unlawful conduct, Plaintiffs suffered actual damages in an amount

to be established by proof at trial.



WHEREFORE, Plaintiffs respectfully pray for judgment against Defendant as

follows:

   1.         For actual, consequential, and incidental damages in an amount to be

              proven at trial;

   2.         For the amount due, owing and unpaid to Plaintiffs representing the fair

              market value of their services;

   3.         For trebling of damages;

   4.         For punitive damages in an amount to be proven at trial;

   5.         For prejudgment interest in an amount proscribed by law;

   6.         For disgorgement of Defendant’s profits;

   7.         For costs of this lawsuit including reasonable attorneys’ fees; and

   8.         For such other and further relief as to this Court seem just, proper and

              equitable.




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                                 JURY DEMAND

      Plaintiffs hereby demand trial by jury as to all issues so triable in the above

matter.



Date: January 15, 2019                   Respectfully submitted,
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